                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                         Plaintiff,              )
                                                 )
                 v.                              )       No. 06-00283-09-CR-W-NKL
                                                 )
ALECEIA C. GRIFFIN-BEY,                          )
                                                 )
                         Defendant.              )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 10 of the Superceding

Indictment. The defendant also agrees to forfeit to the United States the property described in

Addendum A attached to the Plea Agreement of the Superceding Indictment. After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Fed.R.Crim.P. 11, I

determined that the guilty plea is knowledgeable and voluntary and that the offense charged is

supported by an independent basis in fact containing each of the essential elements of such offense. A

record was made of the proceedings and a transcript is available. I therefore recommend that the plea of

guilty be accepted and that the Defendant be adjudged guilty and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated:     January 23, 2008




         Case 4:06-cr-00283-NKL           Document 274         Filed 01/23/08       Page 1 of 1
